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          In the United States Court of Federal Claims
                                         No. 16-12C
                                  (Filed: August 15, 2018)

                                           )
 TAYLOR ENERGY COMPANY                     )
 LLC,                                      )
                                           )
                     Plaintiff,            )
                                           )
 v.                                        )
                                           )
 THE UNITED STATES,                        )
                                           )
                     Defendant.            )
                                           )

           SCHEDULING ORDER FOR BRIEFING ON PLAINTIFF’S
             MOTION FOR SUMMARY JUDGMENT ON COUNT I

        In addition to argument on defendant’s motion to dismiss (ECF No. 11) and the
motions identified the court’s July 24, 2018 order on clarification (ECF No. 79, footnote
1), the court also wishes to hear argument on plaintiff’s motion for summary judgment on
Count I (ECF No. 65). The court, therefore, VACATES its April 5, 2018 order (ECF
No. 67) staying briefing on plaintiff’s motion for summary judgment. The briefing
schedule is as follows:

      September 14, 2018           Defendant shall file its response to plaintiff’s motion
                                   for summary judgment addressing the relevant
                                   Louisiana law.

      September 21, 2018           Plaintiff shall file its reply in support of its motion for
                                   summary judgment.

      No extensions of time will be granted.

      IT IS SO ORDERED.

                                                             s/Nancy B. Firestone
                                                             NANCY B. FIRESTONE
                                                             Senior Judge
